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U.S. Department of Justice

United States Attorney
District of New Jersey

 

 

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V. Grady O'Malley
Senior Litigation Counsel

July 11, 2014

Hon. Stanley R. Chesler

United States District Court

Martin Luther King Jr. Federal Building & Courthouse
50 Walnut Street

Newark, New Jersey 07102

Attention: Theresa Trivino, Deputy Clerk

Re: United States v. Edward Cobb (09-004)(SRC)
Application for an Extension

Dear Ms. Trivino:

Please find attached an Application and Order for an extension of time to surrender, and
for the submission of additional motions for the above captioned defendant.

Thank you for your attention to this matter.
Very truly yours,

PAUL J. FISHMAN
United States Attorney

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By: | V. Grady O’Malley
Sr. Litigation Counsel
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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA ORDER
Vv.
Crim. No. 2009-004(SRC)
EDWARD COBB

This matter having come before the Court, on July 9, 2014, concerning Defendant
Edward Cobb, through his counsel (DeCotiis, FitzPatrick & Cole, LLP); and where, on or about
September 11,2011, the defendant Cobb was sentenced to a term of incarceration and ordered
to surrender to a designated Federal Correction facility; and,

Since 2011, Mr. Cobb’s surrender date has been postponed on several occasions to
accommodate various medical procedures; presently, there are additional medical procedures to
be scheduled, as well as what appears to be the emergence of a newly discovered medical
problem; and,

The Court having reviewed these newly emerging medical issues; and, the United States
having consented to the entry of this Order; and, for good cause shown;

Itisonthis _ day of July 2014

ORDERED that the defendant’s surrender date of July 18, 2014 is hereby extended for
90 days to October 10, 2014; thereafter the defendant Cobb shall report to his designated facility
on or about October 14, 2014, unless further extended by this Court; and,

It is FURTHER ORDERED that, should the defendant believe that his medical

condition is irreparable, and his entire term of incarceration should be further reviewed, then any
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submission for such a review must be filed with this Court within 90 days of the date of this
ORDER, with the United States being given an opportunity to challenge said application; and,
It is FURTHER ORDERED that the defendant shall submit to any reasonable medical

examination(s) at the request of the Government.

 

HON. STANLEY R. CHESLER, U.S.D.J.
